

People v Lopez (2021 NY Slip Op 06815)





People v Lopez


2021 NY Slip Op 06815


Decided on December 07, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 07, 2021

Before: Renwick, J.P., Mazzarelli, Singh, Mendez, Higgitt, JJ. 


Ind No. . 1313/2009 Appeal No. 14773 Case No. 2019-03575 

[*1]The People of the State of New York, Respondent,
vJuan Lopez, Defendant-Appellant. 


Robert S. Dean, Center for Appellate Litigation, New York (Lauren J. Springer of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Meghan McLoughlin of counsel), for respondent.



Order, Supreme Court, New York County (Gregory Carro, J.), entered on or about May 2, 2019, which adjudicated defendant a level two sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court providently exercised its discretion when it declined to grant defendant's request for a downward departure (see People v Gillotti, 23 NY3d 841 [2014]). There were no mitigating factors that were not adequately taken into account by the risk assessment instrument, or that outweigh the seriousness of the underlying sexual abuse committed over several years against two very young girls. Defendant submitted no proof that his age and medical condition would reduce his likelihood of reoffending (see People v Medina, 189 AD3d 588 [1st Dept. 2020], lv denied 36 NY3d 913 [2021]). Defendant's favorable Static-99 score had only limited probative value (see People v Rodriguez, 145 AD3d 489, 490 [1st Dept 2016], lv denied 28 NY3d 916 [2017]). 
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 7, 2021








